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                                   6                                   UNITED STATES DISTRICT COURT

                                   7
                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                  10   UNITED STATES OF AMERICA,
                                  11                     Plaintiff,                            No. CR 14-00175 WHA

                                  12            v.
Northern District of California
 United States District Court




                                  13   PACIFIC GAS AND ELECTRIC                                ORDER RE MONITOR LETTER
                                       COMPANY,
                                  14
                                                         Defendant.
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                                  16         The Monitor has submitted a letter in response to the Court’s request, appended hereto as
                                  17   Exhibit A, providing an update on its field inspections of PG&E’s vegetation management and
                                  18   infrastructure inspection operations since last year.
                                  19         The Monitor has found more exceptions per mile this year than from September to
                                  20   December of last year. The Monitor believes that one of the reasons for this discrepancy is that
                                  21   PG&E completed its 2019 EVM work in low-risk portions of its high-fire threat districts in
                                  22   order to meet its 2019 EVM targets, instead of prioritizing wildfire risk reduction according to
                                  23   its risk model.
                                  24         The Monitor also notes that as of August 31, 2020, PG&E failed to conduct any
                                  25   enhanced, ignition-based climbing inspections of the 967 applicable transmission structures
                                  26   selected for 2020 inspections in high-fire threat districts. The Monitor believes that this
                                  27   shortcoming was caused by “human error, lack of oversight, miscommunications, and failure
                                  28   to appropriately escalate matters,” the same problems that offender PG&E has long had.
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                                   1        By NOVEMBER 3 AT NOON, PG&E shall please explain these shortcomings and any other

                                   2   points in the Monitor’s letter it wishes to address.

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                                   4        IT IS SO ORDERED.

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                                   6   Dated: October 20, 2020.

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                                                                                              WILLIAM ALSUP
                                   9                                                          UNITED STATES DISTRICT JUDGE
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Northern District of California
 United States District Court




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